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                             UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO

   IN RE
                                                 CASE NO. 13-03934-BKT


   JOHANNA NIEVES FLORES
                                                 CHAPTER: 13

                        DEBTOR(S)


                                    MOTION REQUESTING DISMISSAL

  TO THE HONORABLE COURT:
           Comes now, RELIABLE FINANCIAL SERVICES, INC., holder of a secured claim and
  Movant herein, through its undersigned counsel, and very respectfully to the Honorable Court,
  Alleges and Prays as follows:
           1. Movant is the holder in due course of a duly executed conditional sales contract over
  motor vehicle KIA RIO 2012 registered under number 2910, executed by debtor(s) on FEBRUARY
  25, 2012.
           2. Debtor(s) filed the instant bankruptcy petition under Chapter 13 on MAY 15, 2013.
           3. Debtor’s(s’) Plan was confirmed on MAY 15, 2014. Said Plan proposes to pay pre-
  petition arrears through Chapter 13 Trustee and debtor(s) will maintain regular payment directly to
  Movant.
           4. However, debtor(s) has(have) breached the aforementioned Plan’s proposals. As of
  today’s date debtor(s) show(s) TWO(2) post-petition arrears on monthly installments
  corresponding to the months of DECEMBER 2017 and JANUARY 2018 for a total amount of
  post-petition installments due of $804.30.
           5. Section 1307 (c) (6) of the Bankruptcy Code (11 USC §1307 (c)(6)) provides for the
  dismissal of a case under Chapter 13 for "material default by the debtor with respect to a term of a
  Confirmed Plan."
           6. The situation above explained is effectively causing undue prejudice to Movant’s rights
  as a holder of a secured claim.
           7. Therefore, according to 11 USC §1307(c)(1) debtor’s(s’) unreasonable delay which is
  prejudicial to creditor, is sufficient also cause to warrant the dismissal of debtor’s(s’) bankruptcy
  petition.



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           WHEREFORE, it is respectfully requested from the Honorable Court to order the
  dismissal of the instant bankruptcy petition according to the aforementioned bankruptcy disposition.


                                                  NOTICE
           Within thirty (30) days after service as evidenced by the certification, and an additional
  three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
  whom this paper has been served, or any other party to the action who objects to the relief sought
  herein, shall serve and file an objection or other appropriate response to this paper with the clerk’s
  office of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
  response is filed within the time allowed herein, the paper will be deemed unopposed and may be
  granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
  policy; or (iii) in the opinion of the court, the interest of justice requires otherwise.


                                       CERTIFICATE OF SERVICE
           I hereby certify that the present motion was filed electronically with the Clerk of the Court
  using CM/ECF systems which will send notifications of such to the JOSE R. CARRION, Trustee
  and ROBERTO FIGUEROA CARRASQUILLO, debtor’s(s’) attorney and that we have sent
  copy of this document through regular mail to debtor(s) JOHANNA NIEVES FLORES, HC 06
  BOX 70922 CAGUAS, PR 00725 and to all non CM/ECF participants interested as per mailing list
  which is hereby included.

           RESPECTFULLY SUBMITTED,
           In San Juan, Puerto Rico this 24th day JANUARY, 2018.


                                                    /S/ CARLOS E. PEREZ PASTRANA
                                                    USDC-208913
                                                    Attorney for Movant
                                                    PO BOX 21382
                                                    SAN JUAN, PR 00928-1382
                                                    TEL. 787-625-6645 FAX: 787-625-4891
                                                    cperezp@reliablefinancial.com




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                     UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF PUERTO RICO



 IN RE:                                           CASE NO. 13-03934-BKT
 JOHANNA NIEVES FLORES                            CHAPTER 13



     DEBTOR(S)



                          MOTION SUBMITTING DECLARATION
                            UNDER PENALTY OF PERJURY

      Comes now, RELIABLE FINANCIAL SERVICES,INC., holder of a secured claim and
 Creditor herein and submitting to the Honorable Court the following declaration:
             I, Felipe Marrero Clemente, Bankruptcy Officer for RELIABLE FINANCIAL
 SERVICES, declare under penalty of perjury, the following:
             That according to the enclosed certification, provided by Department of Defense
 Manpower Data Center (DMDC), debtor(s) is(are) not on active military duty nor in the military
 service and does not fall within the Service Member Civil Relief Act of 2003.
          RESPECTFULLY SUBMITTED,
          In San Juan, Puerto Rico this 18 day of JANUARY, 2018.




                                             /S/Felipe Marrero Clemente
                                             Bankruptcy Officer
                                             P. O. Box 21382
                                             San Juan, PR 00928-1382
                                             Tel: (787)625-6717 Fax: (787)625-4891
                                             fmarreroc@reliablefinancial.com




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Department of Defense Manpower DataDocument
                                    Center   Page 4 of 7
                                                                                as of : Jan-18-2018 12:41:39 PM

                                                                                                                                                                                         SCRA 4.0




SSN:                          XXX-XX-6734
Birth Date:
Last Name:                    NIEVES FLORES
First Name:                   JOHANNA
Middle Name:
Status As Of:                 Jan-18-2018
Certificate ID:               Q35JMYRVZKC38MD

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case:13-03934-BKT13 Doc#:71 Filed:01/24/18 Entered:01/24/18 11:25:29                                                        Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                          Document Page 5 of 7
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
             Case:13-03934-BKT13
Label Matrix for local noticing  Doc#:71    Filed:01/24/18
                                    BANCO POPULAR DE PUERTO RICO -Entered:01/24/18 ORIENTAL
                                                                                   11:25:29 BANK Desc: Main
0104-3                                    Document          Page    6 of 7
                                    MORTGAGE COUNSELING AND BANKRUPTCY (762)       PO BOX 364745
Case 13-03934-BKT13                 PO BOX 362708                                  SAN JUAN, PR 00936-4745
District of Puerto Rico             SAN JUAN, PR 00936-2708
Old San Juan
Fri Jan 3 15:37:25 AST 2014
RELIABLE FINANCIAL SERVICES         US Bankruptcy Court District of P.R.           AT&T
PO BOX 21382                        Jose V Toledo Fed Bldg & US Courthouse         PO BOX 192830
SAN JUAN, PR 00928-1382             300 Recinto Sur Street, Room 109               SAN JUAN, PR 00919-2830
                                    San Juan, PR 00901-1964


AT&T Mobility Puerto Rico, Inc                       COLON ATIENZA & REPOSSESSION SERVICES PS             Capital Recovery V, LLC
% AT&T Services, Inc                                 PO BOX 21382                                         c/o Recovery Management Systems Corporat
Karen Cavagnaro, Paralegal                           SAN JUAN, PR 00928-1382                              25 SE 2nd Avenue Suite 1120
One AT&T Way, Room 3A231                                                                                  Miami FL 33131-1605
Bedminster, NJ 07921-2693

EMP. BERRIOS FINANCIERA                              GECRB/TJX COS                                        ISLAND FIN
PO BOX 674                                           PO BOX 965015                                        PO BOX 71504
CIDRA, PR 00739-0674                                 ORLANDO, FL 32896-5015                               SAN JUAN, PR 00936-8604



LEONARD & ASSOCIATES PSC                             OPERATING PARTNERS                                   ORIENTAL BANK
PO BOX 366220                                        FORD MOTOR CREDIT                                    BOX 364745,
SAN JUAN, PR 00936-6220                              PO BOX 194499                                        SAN JUAN, PUERTO RICO 00936-4745
                                                     SAN JUAN, PR 00919-4499


(p)ORIENTAL BANK AND TRUST                           ORIENTAL BANK (BBVA)                                 ORIENTAL BANK (BBVA)
PO BOX 195115                                        PO BOX 191017                                        PO BOX 1952
SAN JUAN PR 00919-5115                               SAN JUAN, PR 00919-1017                              HUMACAO, PR 00792-1952



ORIENTAL BANK AND TRUST                              PR ACQUISITIONS LLC                                  RADIO SHACK
C/O BANCO POPULAR DE PUERTO RICO                     PO BOX 194499                                        PO BOX 8181
MORTGAGE COUNSELING AND BANKRUPTCY (762)             SAN JUAN PR 00919-4499                               GRAY, TN 37615-0181
PO BOX 362708
SAN JUAN PR 00936-2708

SANTANDER FINANCIAL D/B/A ISLAND FINANCE             JOHANNA NIEVES FLORES                                JOSE RAMON CARRION MORALES
PO BOX 195369                                        HC 06 BOX 70922                                      PO BOX 9023884
SAN JUAN PR 00919-5369                               CAGUAS, PR 00725                                     SAN JUAN, PR 00902-3884



MONSITA LECAROZ ARRIBAS                              ROBERTO FIGUEROA CARRASQUILLO
OFFICE OF THE US TRUSTEE (UST)                       PO BOX 186
OCHOA BUILDING                                       CAGUAS, PR 00726-0186
500 TANCA STREET SUITE 301
SAN JUAN, PR 00901



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
ORIENTAL BANK Case:13-03934-BKT13 Doc#:71 Filed:01/24/18 Entered:01/24/18 11:25:29                                       Desc: Main
PO BOX 191017                            Document Page 7 of 7
SAN JUAN, PR 00919-1017




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)PR ACQUISITIONS, LLC                              (d)RELIABLE FINANCIAL SERVICES, INC                  End of Label Matrix
PO BOX 194499                                        PO BOX 21382                                         Mailable recipients   25
SAN JUAN, PR 00919-4499                              SAN JUAN PR 00928-1382                               Bypassed recipients    2
                                                                                                          Total                 27
